Case 4:21-cr-00120-HFS Document 60 Filed 04/05/22 Page 1 of 12
Case 4:21-cr-00120-HFS Document 60 Filed 04/05/22 Page 2 of 12
Case 4:21-cr-00120-HFS Document 60 Filed 04/05/22 Page 3 of 12
Case 4:21-cr-00120-HFS Document 60 Filed 04/05/22 Page 4 of 12
Case 4:21-cr-00120-HFS Document 60 Filed 04/05/22 Page 5 of 12
Case 4:21-cr-00120-HFS Document 60 Filed 04/05/22 Page 6 of 12
Case 4:21-cr-00120-HFS Document 60 Filed 04/05/22 Page 7 of 12
Case 4:21-cr-00120-HFS Document 60 Filed 04/05/22 Page 8 of 12
Case 4:21-cr-00120-HFS Document 60 Filed 04/05/22 Page 9 of 12
Case 4:21-cr-00120-HFS Document 60 Filed 04/05/22 Page 10 of 12
Case 4:21-cr-00120-HFS Document 60 Filed 04/05/22 Page 11 of 12
Case 4:21-cr-00120-HFS Document 60 Filed 04/05/22 Page 12 of 12
